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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 10, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service lists attached hereto as Exhibit B and Exhibit
C:

    •    First Supplemental Declaration of Michael A. VanNiel in Support of Debtors'
         Application for an Order Authorizing the Retention and Employment of Baker &
         Hostetler LLP as Special Litigation and Corporate Counsel for the Debtors, Effective
         Nunc Pro Tunc to the Petition Date [Docket No. 902]

Dated: January 12, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                                                                          Core/2002 Service List
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                                                                                                                          bradley.pensyl@allenovery.com;
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Co., Ltd. (a/k/a Hon Hai Technology                                                   Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
Group), Foxconn EV Technology, Inc.,                                                  Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
Foxconn EV Property Development LLC,                                                  Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
and Foxconn EV System LLC                 Allen & Overy LLP                           Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
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                                                                                      c/o Hon Hai Precision Industry
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                                                                   Core/2002 Service List
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Top 30 and Committee of               Barry L. Leonard and Company       dba Trans Machine
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DE Secretary of State                  Delaware Secretary of State       Division of Corporations          Franchise Tax               PO Box 898                               Dover             DE    19903
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DE State Treasury                      Delaware State Treasury                                             Suite 100                                                            Dover             DE    19904
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Foxconn                                Foxconn (Far East) Limited                                          P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
                                                                         Attention: Jerry Hsiao and        4568 Mayfield Road, Suite
Foxconn                                Foxconn EV Technology, Inc.       Steven Yu                         204                                                                  Cleveland         OH    44121
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Foxconn                                Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao        No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
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Holders                               Pertento Partners LLP              Attn: Ian Trundle                 111 Park Street                                                      London                  W1K 7JL      Kingdom




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                                                                                                 Core/2002 Service List
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           Description                         CreditorName             CreditorNoticeName                    Address1            Address2              Address3               City   State      Zip       Country
Top 30 and Committee of
Unsecured Creditors                    SA Automotive LTD           Shar Hedayat                       1307 Highview Dr                                                Webberville     MI      48892
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                                       Securities & Exchange                                                                                        1617 JFK
SEC Regional Office                    Commission                  PA Regional Office                 Regional Director      One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                       Securities & Exchange
SEC Headquarters                       Commission                  Secretary of the Treasury          100 F St NE                                                     Washington      DC      20549
Top 30 and Committee of
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                                                            Lienholders Service List
                                                           Served via First Class Mail

                                   CreditorName                     Address1                   City State     Zip
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                          HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                          SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                          PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                          PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341
                          PROPER TOOLING, LLC & PROPER
                          GROUP INTERNATIONAL, LLC         13870 E 11 MILE ROAD            WARREN    MI     48089




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